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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA

                     Plaintiff,                                      4:12CR3056

       vs.
                                                         MEMORANDUM AND ORDER
KENNAN RASHON MALLORY, TIFFANY
LYNN LAFOND,

                     Defendants.


       Defendant Kennan Rashon Mallory has moved to continue the trial currently set for July
31, 2012. (Filing No. 35). As explained in the motion, the defendant's newly appointed counsel
needs additional time to review discovery and prepare for trial. The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds the motion should be
granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant Kennan Rashon Mallory’s motion to continue, (filing no. 35), is
              granted.

       2)     As to both defendants, the trial of this case is set to commence before the
              Honorable John M. Gerrard, in Courtroom 1, United States Courthouse, Lincoln,
              Nebraska at 9:00 a.m. on November 6, 2012, or as soon thereafter as the case
              may be called, for a duration of five (5) trial days. Jury selection will be held at
              commencement of trial.

       3)     Based upon the showing set forth in the defendant Kennan Rashon Mallory’s
              motion and the representations of counsel, the Court further finds that the ends of
              justice will be served by continuing the trial; and that the purposes served by
              continuing the trial date in this case outweigh the interest of the defendant and the
              public in a speedy trial. Accordingly, as to both defendants, the additional time
              arising as a result of the granting of the motion, the time between today’s date and
              November 6, 2012, shall be deemed excludable time in any computation of time
              under the requirements of the Speedy Trial Act, because despite counsel’s due
              diligence, additional time is needed to adequately prepare this case for trial and
              failing to grant additional time might result in a miscarriage of justice. 18 U.S.C.
              § 3161(h)(1), (h)(6) & (h)(7).

              July 15, 2012.                        BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
